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                        NOT RECOMMENDED FOR PUBLICATION

                                           No. 21-3031

                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT


MICHELLE MARIE ROSE,                                     )
                                                         )
       Plaintiff-Appellant,                              )
                                                         )
v.                                                       )    ON APPEAL FROM THE UNITED
                                                         )    STATES DISTRICT COURT FOR
UNIVERSITY HOSPITALS PHYSICIAN                           )    THE NORTHERN DISTRICT OF
SERVICES, originally named as University                 )    OHIO
Hospitals Physician Services, Inc., aka UHPS,            )
                                                         )
       Defendant-Appellee.                               )


                                                ORDER


       Before: NORRIS, GIBBONS, and LARSEN, Circuit Judges.


       Michelle Marie Rose, an Ohio resident proceeding pro se, appeals the district court9s
judgment in favor of the defendant in her employment discrimination action. This case has been
referred to a panel of the court that, upon examination, unanimously agrees that oral argument is
not needed. See Fed. R. App. P. 34(a).
       Rose was an employee of University Hospitals Physician Services (<UHPS=), most
recently working in management in the University Hospital Allergy Department. Despite a recent
policy change restricting the ability of employees like Rose to enter into contracts, Rose contracted
with a transcription service.    In another policy change, UHPS announced that the Allergy
Department would be changing its billing and scheduling software, which upset Rose. Rose raised
her concerns to the IT Department and several senior employees and indicated that she would
escalate her objections to higher management. Following these incidents, UHPS placed Rose on
a final written warning. After the warning, Rose went on two approved Family and Medical Leave
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Act (<FMLA=) leaves of absence. On December 20, 2017, UHPS terminated Rose9s employment
while she was on approved FMLA leave, claiming that she violated the terms of the previous
warning along with her supervisor9s directives.
       In 2019, Rose filed a complaint in state court against UHPS, which removed the action to
federal court. Rose amended her complaint to raise the following claims: harassment; negligent
hiring, retention and supervision; FMLA interference; disability discrimination; public shame;
breach of contract; and pain and suffering.
       The district court granted UHPS9s motion for summary judgment. On appeal, Rose argues
that the district court did not have all of her submitted evidence and therefore did not consider the
entire record, that her discovery requests to opposing counsel were not honored, and that the
district court improperly analyzed her harassment and breach of contract claims.
       We review a grant of summary judgment de novo. Laster v. City of Kalamazoo, 746 F.3d
714, 726 (6th Cir. 2014). Summary judgment is appropriate where <the movant shows that there
is no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of
law.= Fed. R. Civ. P. 56(a). When reviewing the grant of a motion for summary judgment, we
view the evidence and all inferences drawn from the underlying facts <in the light most favorable
to the party opposing the motion.= Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.
574, 587 (1986) (quoting United States v. Diebold, Inc., 369 U.S. 654, 655 (1962)). Summary
judgment is appropriate against a party that <fails to make a showing sufficient to establish the
existence of an element essential to that party9s case, and on which that party will bear the burden
of proof at trial.= Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).
       Rose asks us to consider additional evidence on appeal, arguing that the district court did
not receive all of the evidence she submitted and therefore based its decision on an incomplete
record. We may correct the record <[i]f anything material to either party is omitted from or
misstated in the record by error or accident.= Fed. R. App. P. 10(e)(2). <[T]he purpose of
Rule 10(e)(2) is to permit the court 8to correct omission from or misstatements in the record for
appeal, not to introduce new evidence in the court of appeals.=9 United States v. Murdock, 398
F.3d 491, 500 (6th Cir. 2005) (quoting United States v. Smith, 344 F.3d 479, 486 (6th Cir. 2003)).
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In addition, we may use our inherent equitable power to allow a party to supplement the record in
<special circumstances.= Id. at 499. Supplementation under our inherent equitable power is
generally inappropriate unless the additional evidence <establishes beyond doubt the proper
disposition of [the] case.= Inland Bulk Transfer Co. v. Cummins Engine Co., 332 F.3d 1007, 1013
(6th Cir. 2003).
        Many of the exhibits attached to Rose9s brief were submitted to the district court and are
already part of the record. As to those that are not, such as various emails, letters, and forms,
expansion of the record is not warranted. Rose claims to have recently realized that certain
documents that she sent to the district court were never filed. But she does not specifically identify
those documents or offer evidence that she submitted documents to the district court that are not
in the record, and there do not appear to be any exhibits missing from the two responses she filed
to UHPS9s summary judgment motion. Even pro se litigants have an <affirmative duty to monitor=
the district court9s docket. United States v. Barrow, No. 17-1628, 2018 WL 2670617, at *2 (6th
Cir. Feb. 8, 2018) (quoting Yeschick v. Mineta, 675 F.3d 622, 628 (6th Cir. 2012)). And Rose does
not otherwise explain her failure to provide these documents to the district court, as opposed to
this court, or point to any other equitable factors that support expanding the record. See Abu-
Joudeh v. Schneider, 954 F.3d 842, 848 (6th Cir. 2020). Finally, the evidence Rose seeks to
introduce would not alter the disposition of the case. See Inland Bulk Transfer Co., 332 F.3d at
1013.
        Rose also asserts, without elaboration, that her discovery requests were denied. But Rose
did not raise this issue before the district court, so we decline to consider it. See Kusens v. Pascal
Co., 448 F.3d 349, 368 (6th Cir. 2006).
Harassment
        Rose claimed that she was harassed because UHPS micromanaged her time entries,
required her to undergo a psychological evaluation, and denied training for her staff. For a
workplace discrimination claim based on harassment to be actionable, the harassment must be
based on the plaintiff9s membership in a protected class and be so severe that it <had the effect of
unreasonably interfering with the employee9s work performance and creating an objectively
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intimidating, hostile, or offensive work environment.= Crawford v. Medina Gen. Hosp., 96 F.3d
830, 834-35 (6th Cir. 1996); see 42 U.S.C. § 2000e-2(a); 42 U.S.C. § 12112(a); Ohio Rev. Code
§ 4112.02(A). The district court concluded that Rose9s harassment claim failed because the
harassment she described was not connected to a protected class, such as gender or disability, and
was not sufficiently severe or pervasive.
       Rose has forfeited appellate review of this claim by failing to address her failure to connect
the harassment to a protected class. See O’Hara v. Brigano, 499 F.3d 492, 498 (6th Cir. 2007).
Moreover, Rose9s own allegations tie the harassment at issue to workplace disputes, not to her
claimed disability or any other protected category. Additionally, as the district court noted, the
harassment at issue was not sufficiently severe to be actionable.
Negligence
       Rose also asserted a state law claim of negligent hiring, supervision, and retention. As
explained by the district court, this claim fails because UHPS was compliant with the Ohio
workers9 compensation program, and Ohio law grants compliant employers immunity from
negligence claims. Employers who comply with the Ohio workers9 compensation program receive
immunity from damages <for any injury . . . received or contracted by any employee in the course
of or arising out of his employment.= Ohio Rev. Code § 4123.74; see Ohio Const. art II, § 35.
Based on this provision, <employers are conferred with immunity for a majority of workplace
injuries, and an employee9s exclusive remedy for such injury lies within the workers9
compensation system.= Parker v. Ford Motor Co., 124 N.E.3d 893, 896 (Ohio Ct. App. 2019)
(citing Hoyle v. DTJ Ents., Inc., 36 N.E.3d 122, 125-26 (Ohio 2015)). The only exception is when
an employee seeks damages arising from an intentional tort. Id. The record contained unrefuted
evidence that UHPS was compliant with the Ohio workers9 compensation program. Therefore,
Rose9s negligence claim was barred under Ohio law.
FMLA Interference
       Rose next claimed that UHPS interfered with her FMLA leave taken in October and
November 2017 by forcing her to work during those periods. To succeed on an FMLA interference
claim, a plaintiff must show, in relevant part, that her employer <denied [her] FMLA benefits to
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which [she] was entitled.= Walton v. Ford Motor Co., 424 F.3d 481, 485 (6th Cir. 2005). <A
benefit is denied if an 8employer interferes with the FMLA-created right to medical leave or to
reinstatement following the leave.9= Tennial v. United Parcel Service, Inc., 840 F.3d 292, 308
(6th Cir. 2016) (quoting Arban v. W. Pub. Corp., 345 F.3d 390, 401 (6th Cir. 2003)). An employer
may initiate <de minimis= contact with an employee without rising to the level of actionable
interference. Groening v. Glen Lake Cmty. Sch., 884 F.3d 626, 632 (6th Cir. 2018).
       Rose9s argument, liberally construed, is that she was on continuous FMLA leave once her
father9s condition worsened in October 2017 and was still asked to work during her leave periods.
However, the record reflects that Rose was approved for intermittent FMLA leave during the time
period at issue. While Rose asserts that her leave was reclassified to continuous, that assertion is
not supported by the record. As the district court noted, Rose communicated with work colleagues
during her leave, but many of these communications were initiated by Rose. UHPS did contact
Rose concerning a change in the timecard process and the need to complete a form, but there is no
indication that Rose was required to work during leave. The record also reflects that any work
Rose did perform on leave was reimbursed. While there was an issue related to a two-day required
training session, Rose missed the training due to her FMLA leave. Additional communications
show UHPS attempting to cover Rose9s absence and a UHPS human resources employee
reminding Rose not to work while on leave. Accordingly, any employer-initiated contact was de
minimis and does not rise to an actionable violation of the FMLA. See Groening, 884 F.3d at 632.
Therefore, summary judgment on Rose9s FMLA claim was proper.
Discrimination
       Rose additionally claimed that UHPS discriminated against her on account of her disability,
noting that she was fired five days after her doctor recommended that she extend her FMLA leave
for another month to facilitate her recovery from surgery. To make out a prima facie case of
disability discrimination, <a plaintiff must demonstrate that (1) she has a disability, (2) she
is 8otherwise qualified for the position, with or without reasonable accommodation,9 (3) she
8suffered an adverse employment decision,9 (4) her employer 8knew or had reason to know9 of her
disability, and (5) she was replaced or her position remained open.= Williams v. AT&T Mobility
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Servs. LLC, 847 F.3d 384, 395 (6th Cir. 2017) (quoting Macy v Hopkins Cnty. Sch. Bd. of Educ.,
484 F.3d 357, 365 (6th Cir. 2007)). <If the plaintiff makes out a prima facie case, the burden then
shifts to the employer to demonstrate that there was a legitimate, nondiscriminatory reason for the
adverse employment action.= Id. The plaintiff must then show that the reason given by the
employer was actually a pretext for unlawful discrimination. Id.
       Initially, it appears that the basis for Rose9s claim is her extending FMLA leave.
Regardless of whether Rose alleges an ADA disability claim or an FMLA retaliation claim, Rose
has to show a causal connection between the FMLA leave, or her disability, and her discharge.
See id.; Hunter v. Valley View Local Sch., 579 F.3d 688, 691 (6th Cir. 2009). FMLA retaliation
claims, like disability discrimination claims, are subject to the burden-shifting analysis set forth
above. See Romans v. Mich. Dep’t of Human Servs., 668 F.3d 826, 842 (6th Cir. 2012). Rose
cannot recover under either theory because she has not shown that the reason given by UHPS for
her discharge4that Rose received a final written warning for the aggressive nature of her
communications and her behavior in training sessions for the new software launch, yet continued
to engage in disruptive behavior4was a pretext for discriminatory action. See Chen v. Dow Chem.
Co., 580 F.3d 394, 400 (6th Cir. 2009).
Breach of Contract
       Rose claimed that UHPS breached a contract concerning her health insurance coverage
after her employment was terminated. Specifically, Rose claimed that UHPS offered to extend
her health insurance coverage through January 2018 but then revoked the coverage prior to the end
of January. UHPS contended that it did provide coverage through January 2018 and that the
extension was a gift, not part of a contract. While Rose argues that UHPS offered her extended
coverage in writing and then failed to follow through its on offer, she does not argue that she
provided consideration, the absence of which is fatal to her claim. See Kostelnik v. Helper, 770
N.E.2d 58, 61 (Ohio 2002). Therefore, the district court properly granted summary judgment on
this claim as well.
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                                   Remaining Claims
                                          Rose does not address the district court9s conclusion that she was unable to recover on her
                                   public shame or pain and suffering claims. Accordingly, Rose forfeits review of these claims. See
                                   Radvansky v. City of Olmsted Falls, 395 F.3d 291, 311 (6th Cir. 2005).
                                   Appointment of Counsel
                                          Rose lastly takes issue with the district court9s decision not to appoint counsel. A pro se
                                   plaintiff does not have a right to appointed counsel in a civil proceeding; rather, the appointment
                                   of counsel <is a privilege that is justified only by exceptional circumstances.= Lavado v. Keohane,
                                   992 F.2d 601, 606 (6th Cir. 1993) (quoting Wahl v. McIver, 773 F.2d 1169, 11774 (11th Cir.
                                   1985)). The record does not reflect exceptional circumstances warranting the appointment of
                                   counsel.
                                          For these reasons, we AFFIRM the district court9s judgment.


                                                                                ENTERED BY ORDER OF THE COURT




                                                                                Deborah S. Hunt, Clerk




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